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                                      IN THE DISTRICT COURT OF HASKELL COUNTY
                                                 STATE OF OKLAHOMA


         BOARD OF COUNTY COMMISSIONERS OF
         HASKELL COUNTY,



                v.
                                           Plaintiff,
                                                                     CaseNo.   Q;f/{Q- ~
         (1)           PURDUE PHARMA L.P.,
         (2)           PURDUE PHARMA INC.,
         (3)           THE PURDUE FREDERICK COMPANY,                            PETITION
         (4)           CEPHALON, INC.,
         (5)           TEVA PHARMACEUTICAL INDUSTRIES,
                       LTD.,
         (6)           TEVA PHARMACEUTICALS USA, INC.,
         (7)           JANSSEN PHARMACEUTICALS, INC.,                      Filed in the Office
         (8)           JOHNSON & JOHNSON,                                  of COURT CLERK
                                                                           HASKELL, COUNTY OKLA.
         (9)           ORTHO-MCNEIL-JANSSEN
                       PHARMACEUTICALS, INC.,
         (10)          JANSSEN PHARMACEUTICA, INC.,
         (11)          ENDO HEALTH SOLUTIONS INC.,
         (12)          ENDO PHARMACEUTICALS INC.,
         (13)          ALLERGAN PLC,
         (14)          ACTAVIS PLC
         (15)          ACTAVIS PHARMA, INC.,
         (16)          WATSON PHARMACEUTICAL, INC.
         (17)          WATSON PHARMA, INC.,
         (18)          WATSON LABORATORIES, INC.,
         (19)          ACTAVIS LLC,
         (20)          MALLINCKRODT PLC,
         (21)          MALLINCKRODT LLC,
         (22)          INSYS THERAPEUTIC, INC.,
         (23)          MCKESSON CORP.,
         (24)          CARDINAL HEALTH, INC.,
         (25)          AMERISOURCEBERGEN CORP.,
         (26)          ANDA PHARMACEUTICALS, INC.,
         (27)          ANDA, INC.,
         (28)          GCP PHARMA, LLC,
         (29)          KEYSOURCE MEDICAL, INC.,
         (30)          MORRIS & DICKSON CO, LLC,
         (31)          QUEST PHARMACEUTICALS, INC.,
         (32)          THE HARVARD DRUG GROUP, LLC,
         (33)          PHYSICIANS TOTAL CARE, INC.,



2019-01-28 Haskell County Petition.docx
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(34) CVS HEALTH CORPORATION,
(35) CVS PHARMACY, INC.,
(36) OKLAHOMA CVS PHARMACY, LLC,
(37) WALGREENS BOOTS ALLIANCE, INC.
    a/k/a WALGREEN CO.,
(38) PERRY FINE, M.D., and
(39) LYNN WEBSTER, M.D.,

                        Defendants.


                                   I.       INTRODUCTION

        1.      The opioid epidemic is ravaging communities across the United States, but

particularly in Oklahoma, as a result of corporate greed. In recent years, more and more

resources have gone to battling the opioid epidemic as a direct result of the actions of

Defendants.

        2.      Haskell County also employees dozens of people and is responsible for

funding a medical insurance plan for its employees and retirees.

        3.      Haskell County brings this action in its legal and sovereign capacity to

protect the health, safety, and welfare of all its residents.

        4.      Opioids are highly addictive and, historically, medical professionals have

prescribed them in limited circumstances to patients with cancer, terminal illnesses, or

acute short-term pain. Defendants manufacture and distribute opioids and, therefore, the

limited uses for which medical professionals prescribed opioids undermined Defendants'

ability to maximize profits. Thus, Defendants sought to maximize their profits by selling

more opioids. Defendants accomplished this goal by expanding the market beyond the

limited circumstances of medically necessary opioid use and successfully convinced

medical professionals to prescribe opioids to a broader range of patients for longer

periods of time.


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